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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                  CASE NO.: 18-CR-20479-KMM

  UNITED STATES OF AMERICA

  Plaintiff,

  v.

  RAIMUNDO ATESIANO,

  Defendant.
                                         /

       DEFENDANT’S RESPONSE TO ADDENDUM TO THE PRESENTENCE REPORT
          Even under the grouping theory articulated by the Probation Office, Mr. Atesiano should

  end up at a Combined Adjusted Offense Level of 22, rather than 23 (with a resultant Total Offense

  Level of 19 as opposed to 20). The defendant could not have possibly been convicted of any of

  the allegations involving CD as they fell outside of the Statute of Limitations. Therefore, he could

  not have possibly been convicted on a separate count of conspiracy for each offense that the

  defendant conspired to commit. Although the events surrounding the arrest of CD may be

  evidence of Atesiano's participation in the overall conspiracy in the manner in which it was

  charged, the government could never have argued that the arrest of CD (standing alone) could be

  a basis for the defendant's conviction as the Statute of Limitations for that act had expired.

          Therefore, even if the Court were to accept the Probation Office’s Grouping Theory, which

  it should not, the defendant’s Total Offense Level should fall at a 19, not 20.




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         The defendant further reiterates that the Probation Office’s reasoning for effectively

  enhancing the defendant’s Offense Level through it’s Grouping Analysis is faulty and not in

  conformity with the defendant’s guilty plea.




                                                     Respectfully submitted by:
                                                     /s/ Richard Docobo________
                                                     Richard Docobo

                                CERTIFICATE OF SERVICE


         I hereby certify that on this 26th day of November, 2018, I electronically filed the

  foregoing document with Clerk of Court using CM/ECF.




                                                     /s/ Richard Docobo________
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